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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY                                  Dec 13, 2023
                                LOUISVILLE DIVISION

                                                )
  THE HONORABLE ORDER OF                        )       Civil Action No. 3:20-cv-00132-RGJ
  KENTUCKY COLONELS, INC.                       )
     Plaintiff                                  )        Memorandum Opinion and Order
                                                )
  vs.                                           )       SUPPLEMENTAL NOTICE OF
                                                )
                                                       APPEAL — RELIEF REQUESTED
  KENTUCKY COLONELS                             )
  INTERNATIONAL, et.al.                         )
     Defendant(s) & Appellant                   )

                          SUPPLEMENTAL NOTICE OF APPEAL

        Comes now the Defendant-Appellant, Col. David J. Wright, a Kentucky Colonel,

appears today pro-se in forma pauperis under 28 U.S.C. § 1915 to herein inform and give

notification to the U.S. District Court that he APPEALS to the United States Appellate Court

for the Sixth Circuit the “Memorandum Opinions and Orders” of the United States District

Court for the Western District of Kentucky (the “District Court”), entered on March 09,

2020 [DE-25] and [DE-28], on March 23, 2020 [DE-32], August 13, 2020 [DE-58], then in

2023 on August 9, August 16, (already under appeal) and most recently Memorandum

Opinion and Order on November 13, 2023 [DE-138] by Honorable Judge Rebecca Grady

Jennings in the above-captioned case. The Defendant makes this Notice under the Federal Rules

of Civil Procedure, FRCP 4(a)(1) – Time for Filing a Notice of Appeal.

        Please take notice that the Defendant/Appellant hereby supplements his previously filed

Notice of Appeal in this case with the following overlapping and supplemental grounds for appeal

on the 30th day following the most recent order to prevent foreclosure of his right to appeal:
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1. The District Court erred in its Memorandum Opinion and Order on November 13, 2023

   [DE-138] and Memorandum Opinion and Order of November 13, 2023, [DE-129] by

   sanctioning the principal defendant and unlawfully imposing penalties based on contempt

   for a mistaken preliminary injunction prohibited by law under sections of the Lanham Act,

   the Copyright Act and the First Amendment of the United States Constitution interfering

   with the Defendant’s civil rights.

2. The District Court's actions, conclusions and decisions are not supported by factual

   evidence, codified in law or are contrary to law based on suggestions by the Plaintiff. The

   District Court has shown abject deference to the Plaintiff and has shown judicial bias by

   continuing to constrain and limit the Defendant’s civil rights in its discretion. The District

   Court did not duly consider or hear Defendant’s motions (DE 103; DE 104; DE 113; DE

   116; DE 127; DE 128) in an equitable or timely manner, even when presented prior to and

   for a hearing, or with any equity based on the Defendant’s active pleadings, affirmative

   defenses, and motion for declaratory judgment filed in the case leading to confidential

   settlement based on actions filed with this Court between August 13, 2020 and December

   29, 2020.

3. The District Court dangerously reopened a case dismissed with prejudice without

   thoroughly reviewing the pleadings, unheard motions, evidence and the confidential court

   mediated settlement proposal, or considering its relevance as a legally binding subsequent

   agreement that governed the Agreed Permanent Injunction [DE-93] and Agreed Order

   of Dismissal [DE-94].
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4. The District Court erred in mistaking the flawed deferential Preliminary Injunction

   [DE-58] for the Agreed Permanent Injunction [DE-93] in the Memorandum Opinion

   and Order [DE-129] demonstrating a clear inequitable bias for the Plaintiff, against the

   Defendant based on the Lock-In Effect is appealable (See Kevin J. Lynch, The Lock-in

   Effect of Preliminary Injunctions, 66 Fla. L. Rev. 779, 2015) without adequate, due or

   required consideration for the Court Mediator’s Agreement and the intermediate Court

   Settlement Conference or Documents 60-90 [DE-60 through DE-90].

5. The District Court erred in not closely examining the evidence, the court record, taking on

   an issue without considering the Defendant’s exercise of his civil rights, his rights to freely

   associate with others, their right to assemble, his rights to address grievances and interfered

   with the right to publicity under terms withstanding and notwithstanding the Agreed

   Permanent Injunction with any equity. The District Court erred in not giving more weight

   to the Defendant’s Affirmative Defenses [DE-62] and Motion for Declaratory

   Judgment [DE-82] which provided all the solutions for justice to prevail and drove this

   case to a settlement agreement.

6. The District Court erred in prejudicing and suspending Defendant’s rights as a Kentucky

   Colonel and Kentuckian which are outside of the scope of the specifically prohibited

   activities of the Agreed Permanent Injunction combined with the Court Mediated

   Agreement which the Court has in essence voided within the proceeding.

      a. Inalienable rights: This term refers to fundamental rights that are inherent to all

          individuals and cannot be taken away by the government.
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      b. Absolute rights: This term is sometimes used to describe rights that are not subject

         to any exceptions, but it is important to note that even fundamental rights have some

         limitations.

      c. Core rights: This term refers to the most essential rights that are necessary for a

         free and democratic society.

      d. Unenumerated rights: These rights that are not explicitly mentioned in the

         Constitution but are implied by the concept of individual liberty.

7. The District Court's decision(s) have caused the Appellant and other Kentucky colonels

   irreparable harm based on presumptions and narrative spin developed by the Plaintiff in the

   public sector and among other members and non-members with libelous and bad-faith

   intent to demonstrate wrongdoing on the part of the Defendant.

8. The District Court’s recent affirmation of the presumptive overreaching and specious

   allegations made by the Plaintiff in January 2023 have damaged, interfered and ruined the

   Defendant’s ability to communicate, educate and inform other Kentucky colonels about the

   Kentucky Colonel Commission and the Origin of the Kentucky Colonel in accordance with

   the law; legally raise funds or engage commercially or non-commercially with his

   copyright Kentucky Colonels (not governed by the Injunction); protect or use his

   common-law unregistered trademark “Kentucky Colonels™” established in 1998 for the

   purposes of an educational and historical association facilitated by ecommerce (not

   governed by the Injunction), as a website title and Internet search keywords, and for the
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   purposes the unregistered trademark was unintentionally authored by and used by the

   Defendant in commerce for three years before the Plaintiff appeared online.

9. The District Court failed to recognize the Defendant as a “living Kentucky Colonel” with

   rights, privileges, and responsibilities notwithstanding the Trademark Act, Copyright Act

   or Civil Rights Act; and consider the Defendant’s standing as a 20 year donor, member and

   volunteer of the Plaintiff’s organization and failed to apply the most obvious defenses

   known to the court such as the Whistleblower Act, the Volunteer Protection Act and the

   Civil Rights Act.

10. The Defendant requests the District Court take note that the Plaintiff has managed to

   unethically omit and fraudulently conceal evidence, facts and information within its scope

   of knowledge that should or would have prevented this case 3:20-cv-00132 from being

   entertained or filed including the donorship, membership and volunteer standing of all of

   the members of Kentucky Colonels International since 1998. Failure to disclose these

   relevant conditions of the Defendants as Members of the Plaintiff may constitute an

   inadvertent fraud on the court.

11. Within his legal rights as an individual Kentucky Colonel recognized by this Court, a

   former donor, member and volunteer of the Plaintiff’s organization; the Defendant herein

   notifies the Court that he formally rescinds and revokes his consent which was granted

   under amenable and honorable circumstances, conditions and terms with the Magistrate

   Court, which now in light of the failure of the superior presiding District Court to

   recognize these unenumerated and unprohibited rights under stipulation five of the Agreed
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       Permanent Injunction in combination with the Prominent Court Mediator’s Settlement

       Agreement. The violation of the disclosed honorable terms of a confidential court mediated

       settlement agreement are grounds for an appeal.

                  MOTION TO SUPPLEMENT, AMEND AND PROCEED

       The District Court is aware that this matter is already under appeal in the Sixth Circuit

Court of Appeals as Case Number 23-5795 at the discretion of Civil Division Case Manager, Mr.

Ford: “it is important to not allow the Supplementary Notice of Appeal of the “new final order” to

accidently or automatically generate a new case number.” Further the Case Manager suggested

that the Appellant file the appropriate motions in the Sixth Circuit to amend and supplement the

appeal as one single case. Under the Federal Rules of Appellate Procedure, the Amended Appeal

Notice filed promptly within 7-10 days, will cause the Initial Appellate Brief due date to be

automatically extended 30 to 45 or perhaps up-to 60 days by default, the Appellant will have at

least 30 days and the Appellee will be given its ordinary time to file a Reply Brief.

       The Defendant, therefore wishes that the District Court and the Plaintiff, understand that it

is the Defendant’s intention to appeal this case from the very beginning in a de novo review,

because at times the Court was too preoccupied showing deference to the well-respected law firm

to question or test the validity of the Plaintiff’s claims to being famous, inherently distinctive and

incontestable trademarks that were three days old, examine the evidence submitted by the Plaintiff

with [DE-1] of Defendant’s First Amendment activities classified as disparagement or try to

understand the facts that the Plaintiff had omitted or fraudulently concealed in its new unrelated

trademark application claims only three days prior to filing and/or Plaintiff’s ‘duty to investigate
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its claims against its members before filing a lawsuit over a 20 year old dispute. The Plaintiff was

responsible ethically for gathering evidence, disambiguating itself, identifying potential witnesses,

and understanding the legal basis for their claims; instead they demonstrated their need for

protection as a vulnerable charity instead of a business engaged with its trademarks. Courts may

view a plaintiff's failure to adequately investigate a case prior to filing suit as a sign of weakness

or lack of merit in their case, especially one without prima facie evidence.

       Wherefore, the Defendant now Appellant, Colonel Wright, respectfully moves this Court

with this Supplemental Notice of Appeal to take notice of this filing revision and grant him the

following equitable relief as an affected, damaged, defamed, disabled, harmed and otherwise now

dysfunctional (restricted) party in the “Closed Case” HOKC v KCI, et.al. 3:20-cv-00132:

   1. Combine Notice of Appeal [DE-132] with this new updated Supplemental Notice of

       Appeal in the Sixth Circuit Court of Appeals Case Number 23-5795. If it pleases the

       Court, to automatically combine any future orders or the pending entry of default against

       other corporate defendants by obtaining leave from the Sixth Circuit so as not further delay

       or impede the Appeal process.

   2. Stay the District Court's Memorandum Opinion and Order of November 13, 2023

       [DE-138] pending the appeal; further as a forma pauperis appellant, understand that there

       is no possibility of the Defendant paying off the amount demanded in the Memorandum

       Opinion and Order any faster or in less time than the $3,000.00 the Federal Government

       Debt loaned to him during the COVID Pandemic to defend this case, the Small Business

       Association gave him 30 years to repay the sum at a rate of $13 per month.
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   3. Grant any other relief that this Court deems fair, just and equitable including automatic

       interlocutory relief or other discretionary relief which he may be entitled to in law as a

       donor, member, or volunteer of the Plaintiff’s organization, as a whistleblower, as a pro-se

       forma pauperis appellant and as a legally recognized Kentucky Colonel (just like Colonel

       Sanders of KFC was) based on the scope of the Appeal and the claims it will approach.


       For any or all of the foregoing reasons, Defendant | Appellant respectfully in good-faith

prays that the District Court will take notice of the supplemental appeal and provide equitable

relief by suspending the most recent order with a stay on the demand of penalty for contempt

pending appeal. The Defendant shall also pray that the Sixth Circuit Court grant his forthcoming

petition for affirmative relief to amend and supplement his appeal in light of recent District Court

rulings, maintain his pro-se status from the US District Court (and/or designate an attorney),

maintain his forma pauperis status recognized by the US District Court, maintain his fee waiver

access to the ECF Case file of over 4,000 pages where Civil Action 3:20-cv-132-RGJ [DE-1]

through [DE-138] reside, the Preliminary Injunction mistaken for the Agreed Permanent

Injunction [DE-93] and its conjoined (concurrent case) Civil Action 3:23-cv-43-RGJ [DE-1]

through [DE-23] to remain accessible electronically via the ECF System.

Puerto Carreño, Colombia
Dated: December 13, 2023




                                                      Col. David J. Wright
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                                      Certificate of Service

I hereby certify that on December 13, 2023, I emailed for filing the foregoing Notice of Appeal
with attachments to the Clerk of the Court for the United States District Court of the Western
District of Kentucky using the special Pro Se Intake Email per General Orders 20-04 and 20-11
for entry to the CM/ECF system. I certify that all participants in the case are registered CM/ECF
users and that service will be accomplished by the CM/ECF system once the document is filed
and assigned a document number by the Clerk of the Court.



Clerk's Office
601 W. Broadway, Rm 106
Gene Snyder United States Courthouse
Louisville, KY 40202
